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                                     UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY
                                        MINUTES OF PROCEEDINGS


OFFICE: TRENTON                                                  DATE: FEBRUARY 18, 2025
JUDGE: ROBERT KIRSCH
COURT REPORTER: PAULA HOROVITZ


TITLE OF CASE:                                                   DOCKET NO.
UNITED STATES OF AMERICA
v.
MOSHE SILBER (DEFENDANT NOT PRESENT)                             24-CR-446-01 (RK)
FREDERICK SCHULMAN (DEFENDANT NOT PRESENT)                       24-CR-497-01 (RK)

APPEARANCES:
Martha Nye, AUSA and Babasijibomi Moore, AUSA for the Government
Eric Kanefsky, Esq. and Luke O’Brien, Esq., counsel for Defendant (24-CR-446)
Justin Weitz, Esq., Sandra Moser, Esq. and Steven Strauss, counsel for Defendant (24-CR-497)


NATURE OF PROCEEDINGS:
Telephone Conference held.
Sentencing scheduled for 10:00 a.m. on March 18, 2025.




Time Commenced: 2:33 p.m.
Time Adjourned: 2:58 p.m.
Total Time:     25 minutes


                                                                    s/ Patricia Markey
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